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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                        CASE NO.: 1:08cr10-SPM

DIEGO CHOXJ CHA,

           Defendant.
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     ORDER GRANTING EX PARTE MOTION FOR KICHEE INTERPRETER

       Upon consideration, Defendant Cha’s motion for Kichee interpreter (doc.

242) is granted. The Court will have Kichee interpreters for Defendant Cha at

trial, but the interpreters will not be certified because there are no certified Kichee

interpreters. The interpreters will be language skilled in Kichee.

       SO ORDERED this 20th day of May, 2009.



                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
